        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 1 of 24



                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BETHANY KATZ, on behalf of herself and
all those similarly situated,
325 Thornbrook Ave.
Rosemont, PA 19010


              Plaintiffs,
       v.                                     INDIVIDUAL, COLLECTIVE, AND
                                              CLASS ACTION COMPLAINT
DNC SERVICES CORPORATION d/b/a
DEMOCRATIC NATIONAL                           DOCKET NO: 16-5800
COMMITTEE
430 South Capitol St. Southeast
Washington, DC 20003
                                              JURY TRIAL DEMANDED
and

PENNSYLVANIA DEMOCRATIC
PARTY
1801 Market St. Ste. 1500
Philadelphia, PA 19103

              Defendants.


                           THIRD AMENDED
      INDIVIDUAL, COLLECTIVE, AND CLASS ACTION CIVIL COMPLAINT

       Named Plaintiff Bethany Katz (“Named Plaintiff”) individually and on behalf of herself

and those similarly situated, by and through undersigned counsel, hereby complains as follows

against Defendants DNC Services Corp. d/b/a Democratic National Committee (“Defendant

DNC”) and the Pennsylvania Democratic Party (“Defendant PDP”).

       This case seeks compensation on behalf of all Organizers who were paid directly by

Defendant PDP and who worked for Defendants tirelessly while being denied overtime

compensation guaranteed by federal and state law. Specifically, Named Plaintiff alleged that she



                                               1
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 2 of 24



and other Organizers were employed in non-exempt positions to assist in a nationally

coordinated Democratic “ground game” which sought to increase the Democratic vote.

       Even while Defendants campaigned to enhance and expand the ability of low and middle

income people to be paid a fair salary and overtime, those same principles were ignored in

denying their own Organizers overtime pay for the extremely long hours required by campaign

work. Organizers are dedicated people who worked for Defendants because they were and

remain committed to Defendants’ platform, program, and ideals; they bring this lawsuit not to

challenge those ideals but to vindicate them, and in so doing, do their part to ensure the

continued viability of the rights created by and enshrined in the Fair Labor Standards Act of

1938 and the other laws alleged herein to be violated.

       The Organizers’ job duties consisted of assisting in voter registration, building and

maintaining Votebuilder, a nationwide database of personal and voting information, handing out

paperwork and forms to potential voters in person, reminding potential voters of deadlines, and

soliciting volunteers. Organizers were expected and did work long hours and weekends, and

regularly worked in excess of 80 to 90 hours per workweek. Rather than hiring additional staff

to reduce the extraordinary workload assigned to Organizers, and rather than paying overtime as

required by the FLSA and Pennsylvania state law, Defendants instead willfully engaged in a

course of conduct in violation of state and federal law by requiring Organizers to work long

hours without providing any overtime compensation to Organizers. Defendants unlawfully and

erroneously treated Organizers as exempt employees under state and federal law.

                                       INTRODUCTION

       1.      Named Plaintiff has initiated the instant action to redress violations by Defendants

of the Fair Labor Standards Act (“FLSA”). Named Plaintiff asserts that Defendants erroneously

designated Named Plaintiff and those similarly situated (“Collective Action Plaintiffs”) as
                                                2
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 3 of 24



exempt employees under the FLSA, and consequently, failed to pay overtime premiums for

hours worked beyond 40 per workweek by Named Plaintiff and Collective Action Plaintiffs.

       2.      Additionally, Named Plaintiff Katz has initiated the instant action to redress

violations by Defendants of the Pennsylvania Minimum Wage Act (“PMWA”) and for civil

conspiracy. Named Plaintiff Katz asserts that Defendants erroneously treated Named Plaintiff

Katz and other similarly situated Pennsylvania employees (“Pennsylvania Plaintiffs”) as exempt

employees under the PMWA, and consequently, failed to pay overtime premiums for hours

worked beyond 40 per workweek by Named Plaintiff Katz and Pennsylvania Plaintiffs, and that

Defendants conspired to deny Named Plaintiff Katz and Pennsylvania Plaintiffs their lawful

wages due.

                                JURISDICTION AND VENUE


       3.      This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because the claims herein arise under laws of the United States, the FLSA, 29

U.S.C. § 201 et seq. This Court has supplemental jurisdiction over Plaintiffs’ state law claims

because those claims arise out of the same nucleus of operative fact as the FLSA claims.

       4.      This Court may properly maintain personal jurisdiction over Defendant PDP

because Defendant PDP is domiciled in the Commonwealth of Pennsylvania.

       5.      This Court may properly maintain personal jurisdiction over Defendant DNC

because Defendant DNC regularly conducted and conducts business in this Commonwealth such

that assertion of jurisdiction over Defendant DNC comports with traditional notions of fair play

and substantial justice. Additionally, the acts and transactions complained of herein arise out of

the actions of the Defendant DNC in the Commonwealth of Pennsylvania.




                                                3
         Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 4 of 24



        6.      Venue is properly laid in this judicial district pursuant to 29 U.S.C. § § 1391(b)(1)

and (b)(2), because Defendants reside in and/or conduct business in this judicial district and

because a substantial part of the acts and/or omissions giving rise to the claims set forth herein

occurred in this judicial district.

                                             PARTIES

        7.      Named Plaintiff Katz is an adult individual with an address as set forth above in

the caption.

        8.       “Collective Action Plaintiffs” refers to individuals who are current and/or former

employees of Defendants who were paid directly by the Pennsylvania Democratic Party who

held the job title of “Organizer,” “Field Organizer,” and/or who performed job duties consistent

with that of an “Organizer” and/or “Field Organizer” within the last three (3) years.

        9.      “Pennsylvania Plaintiffs” refers to individuals who are current and/or former

employees of Defendants who held the job title of “Organizer,” “Field Organizer,” and/or who

performed job duties consistent with “Organizer” and/or “Field Organizer” in Pennsylvania

within the last three (3) years.

        10.     Defendant DNC is responsible for governing the Democratic National Party, and

raises money, hires staff, and coordinates strategy to support candidates throughout the United

States for local, state, and national office and, at all times relevant hereto, directed the operations

of many state parties, including Defendant PDP.

        11.     Defendant PDP at all times relevant hereto was responsible for governing the

Pennsylvania Democratic Party. At the direction of Defendant DNC and non-party Hillary For

America, Defendant PDP raised money, hired staff, and coordinated strategy to support

candidates throughout the Commonwealth of Pennsylvania for local, state, and national office.



                                                  4
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 5 of 24



                                JOINT/SINGLE EMPLOYER

       12.     In the spring and summer of 2016, the DNC directed certain Democratic state

parties, including the PDP, and the Organizers employed by Defendant PDP, to focus on old-

school organizing, and to get them to do registration drives and voter database improvements.

       13.     The DNC specifically provided certain Democratic state parties, including the

PDP, with the funds to hire Organizers that were directed to, among other things, update

individual voter information for the DNC.

       14.     The Hillary For America (“HFA”) and the Hillary Victory Fund (“HVF”)

essentially controlled all the funding for the DNC, both prior to and after Hillary Clinton

received the nomination.

       15.     The HVF was a joint fundraising entity entered into between Defendants, HFA,

and more than 30 state democratic parties.

       16.     HFA was the entity responsible for running Hillary’s campaign, and worked in

conjunction with Defendants to utilize Defendant PDP’s Organizers to get Hillary elected.

       17.     HFA and HVF essentially controlled all of the activities of the DNC, directing it

to push downhill to the State parties, including the PDP, to focus on the national elections, and

on getting Hillary elected.

       18.     HFA signed a Joint Fundraising Agreement with the DNC in August 2015 setting

up the HVF and providing HFA with operational control over the DNC through the 2016

national election.

       19.     Pursuant to the joint fundraising agreement between HFA and the DNC, the HFA

would control the DNC’s finances, strategy, money raised, and staffing decisions.




                                               5
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 6 of 24



       20.      The DNC, at the direction of HFA and HVF, directed certain state parties,

including the PDP, to have the Organizers perform the functions that they performed.

       21.      During the 2016 presidential campaign, HFA exercised control over Defendant

DNC, which in turn controlled Defendant PDP. HFA and Defendant DNC maintained the ability

to direct the day-to-day activities of Defendant PDP’s employees, including Named Plaintiff and

other Organizers. As an example of this control, Named Plaintiff was required, as part of her job

duties as an Organizer for Defendant PDP, to call voters in Florida and North Carolina in support

of HFA’s and Defendant DNC’s effort to get Hillary elected in those states.

       22.      The DNC also determined how much each State Party should pay the Organizers

in each State, including Pennsylvania, thus coordinating a pay scale of either $3,000 per month –

as it was in Pennsylvania -- or $2500 per month for each Organizer. The amounts paid by the

States was one or the other, which was not coincidence, but was in fact directed by the DNC.

       23.      In further support of the control exercised by HFA and the HVF over the DNC,

and thus the DNC over PDP, when plaintiff Katz requested to be paid overtime for the work she

performed, Defendant PDP advised it needed to get permission from “Brooklyn” (the code name

for the HFA and HVF) to provide an answer.

       24.      Further proof of the control exercised by the DNC over the State parties,

including the PDP, is that essentially all the monies raised by the State parties, including the

PDP, was funneled to the DNC and Brooklyn through the HVF.

       25.      The Joint funding agreement between HFA and the DNC provided that HFA

personnel will be consulted and have joint authority over strategic decisions over the staffing,

budget, expenditures, and general election related communications, data, technology, analytics,

and research.



                                               6
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 7 of 24



       26.    To implement the Joint Funding agreement, the DNC had to direct the State

parties to cooperate with Brooklyn, which meant that the DNC was directing the employees of

Defendant PDP, including Named Plaintiff and other organizers.

       27.    On July 16, 2016 the Clinton campaign released its list of staffers for HFA as well

as the “coordinated party campaign” for Pennsylvania. In addition to HFA staff focusing on

Pennsylvania, there was a “PA Coordinated Campaign” with Ryan Matthews as the Pa Victory

2016 Coordinated Campaign Director, HFA employee Victoria Perrone as the Pa Victory 2016

Coordinated Campaign Operations Director, and HFA employee Chelsie Ouellette as the Pa

Victory 2016 Organizing Director, among others. Chelsie Ouellette, Victoria Perrone, and Ryan

Matthews were instrumental in hiring and training the Organizers to work at the direction of

DNC and PDP.

       28.    Victoria Perrone offered Named Plaintiff employment as an Organizer for

Defendant PDP. Ms. Perrone copied Ryan Matthews on the offer letter.

       29.    On June 3, 2016, Chelsie Ouellette, then employed by HFA, sent Named Plaintiff

and other organizers a welcoming email, entitled “Welcome to Pennsylvania” and directing them

to attend a training session and to bring necessary documents for their employment and payroll.

       30.    Ms. Ouellette, while employed by HFA, ran the training session and informed

Named Plaintiff and other Organizers how to perform their job duties and explained to them

during training that their schedule required them to work 7 days per week and well in-excess of

40-hours per week.

       31.    Ms. Ouellette was dual-employed by HFA and Defendant PDP as the Organizing

Director and in that role she led and managed a staff of over 400 individuals who were directly




                                               7
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 8 of 24



employed by Defendant PDP and/or HFA, including Named Plaintiff and all other Organizers

directly employed by Defendant PDP.

       32.        Other HFA employees presented during the training session, and trained Named

Plaintiff and other organizers how to perform their job.

       33.        The coordinated campaign in Pennsylvania operated under the brand Hillary for

Pennsylvania, and operated a single Facebook site and Twitter account, @HillaryforPA.

       34.        The two directors of the Pennsylvania coordinated campaign were HFA

employees Corey Dukes as the State Director and DNC/HFA employee Erin Wilson, the Deputy

State Director.

       35.        The Pennsylvania coordinated campaign also employed HFA National Regional

Director of Organizing Victoria Zyp on the ground in Pennsylvania as part of the Pennsylvania

campaign leadership team charged with overseeing and directing the Pennsylvania campaign

efforts, include the work of the Organizers.

       36.        The Pennsylvania coordinated campaign also employed DNC Regional

Operations Director Abby Compton on the ground in Pennsylvania as part of the Pennsylvania

campaign leadership team charged with overseeing and directing the Pennsylvania campaign

efforts, include the work of the Organizers.

       37.        The Pennsylvania coordinated campaign also employed DNC employee Eden

Tesfaye as Director of Special Projects, who worked on the ground in Pennsylvania as part of the

Pennsylvania campaign leadership.

       38.        The Pennsylvania coordinated campaign also employed DNC employees Sean

Meloy and Aaron Weinberg as specific constituent outreach directors.




                                                8
         Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 9 of 24



        39.    The Pennsylvania coordinated campaign also employed HFA employee Trip

Yang and DNC employees Tim Hegedus, Robin Wallace, and Gabe Garbowit as Out-Of-State

Organizers to bring Delaware and New Jersey volunteer canvassers into Pennsylvania,

necessitating interaction and coordination with the work of the Organizers.

        40.    The Pennsylvania coordinated campaign also employed DNC employee Joe

DiSimone as part of its get-out-the-vote efforts.

        41.    The Pennsylvania coordinated campaign relied on Organizers, including Named

Plaintiff Katz, who were ostensibly employed by Defendant PDP, to reach its strategic goals.

        42.    As a result, DNC employees and HFA employees directed the hiring of, oversaw,

and directed the work of Organizers employed directly by Defendant PDP, including Named

Plaintiff.

        43.    Defendant PDP at times deferred hiring and termination decisions of Organizers

to HFA and Defendant DNC.

        44.    Defendant DNC coordinates and directs strategic initiatives directly with

Defendant PDP, including in strategizing and focusing on voter registration drives, get-out-the-

vote initiatives, canvassing, and phone calling. Defendant DNC’s coordination and direction

includes directing Defendant PDP to hire and retain organizers to assist in voter registration

drives, get out the vote initiatives, canvassing, and phone calling. Defendant DNC further directs

Defendant PDP regarding the qualifications and job duties of organizers, and further directs

Defendant PDP to classify organizers as overtime-exempt under state and federal law.

        45.    Upon information and belief, many of the strategic initiatives for which

organizers of PDP, as well as other state democratic parties, including Named Plaintiff, perform




                                                    9
       Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 10 of 24



job duties are initiatives which are designed and implemented by Defendant DNC and which are

performed to benefit Defendant DNC.

       46.     Upon information and belief, Defendants share resources and funds to assist in

Defendant DNC’s nationally coordinated campaign.

       47.     Defendant DNC participated in hiring organizers for Defendant PDP by posting a

job application for field organizers on its website and sending the job application to its national

email list of supporters and former employees.

       48.     Specifically, on or about May 13, 2016, Defendant DNC sent a mass email to its

email list, from Amy K. Dacey, the DNC’s Chief Executive Officer, stating that the DNC was

looking for Field Organizers to help elect Democrats in key battleground states and providing a

link to an online job application. Pennsylvania was one of, if not the, key battleground state in

the 2016 election.

       49.     On information and belief, Defendant DNC participated in hiring organizers for

Defendant PDP by vetting, reviewing, and forwarding completed organizer job applications to

Defendant PDP.

       50.     On May 21, 2016, the Chairwoman of Defendant DNC Debbie Wasserman Shultz

admitted that the DNC was providing “critical staff salaries” to the state Democratic parties,

including upon information and belief, Defendant PDP, and was training state party staff in key

communications, digital, and organizing skills.

       51.     Defendant DNC controlled Defendant PDP by providing guidance and training

through the DNC’s sub-committee ASDC (Association of State Democratic Chairs), providing

weekly conference calls to Defendant PDP and other state parties related to data management,




                                                  10
       Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 11 of 24



HR employment policies, including the paying of minimum wage, overtime, and the use of

volunteers, budgeting, training, VoteBuilder, and constituency outreach.

       52.     Specifically, in an August 25, 2016 conference call (which was recorded and is

publicly available) between Defendant DNC and the state parties, including Defendant PDP, the

DNC’s attorneys Neil Reiff, Graham Wilson, and Ben Stafford provided HR policy guidance to

the state parties, explained that federal wage and hour law applied to individuals directly

employed by the state parties, that they are entitled to minimum wage under federal wage and

hour law, and they are entitled to premium overtime pay under federal wage and hour law unless

they are exempt, that time must be paid for if supervisors and managements suffer or permit the

work, and that work means the exertion of labor on behalf of the state party’s behalf.

       53.     At all times relevant herein, Defendants acted by and through their agents,

servants, and employees, each of whom acted at all times relevant herein in the course and scope

of their employment with and for Defendants.

                      FLSA COLLECTIVE ACTION ALLEGATIONS

       54.     Named Plaintiff brings this action for violations of the FLSA as an individual

action and as collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on

behalf of all persons who were employed as organizers or in job titles with similar duties, who

were paid directly by Defendant PDP and who were classified by Defendants as “exempt” from

the overtime requirements of the FLSA.

       55.     Named Plaintiff and Collective Action Plaintiffs are similarly situated, have

substantially similar non-managerial job duties, have substantially similar pay provisions, and

are all subject to Defendants’ unlawful policies and practices as described herein.




                                                11
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 12 of 24



       56.     There are numerous similarly situated current and former employees of

Defendants who were compensated improperly for overtime work in violation of the FLSA and

who would benefit from the issuance of a Court Supervised Notice of the instant lawsuit and the

opportunity to join the present lawsuit.

       57.     Similarly situated employees are known to Defendants, are readily identifiable by

Defendants, and can be located through Defendants’ records.

       58.     Therefore, Named Plaintiff should be permitted to bring this action as a collective

action for and on behalf of herself and those employees similarly situated, pursuant to the “opt-

in” provisions of the FLSA, 29 U.S.C. § 216(b).

                    PENNSYLVANIA CLASS ACTION ALLEGATIONS

       59.     Named Plaintiff Katz brings this action for violations of the Pennsylvania

Minimum Wage Act and for civil conspiracy as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of all persons who performed worked or work as organizers

or in similar positions in the Commonwealth of Pennsylvania who were treated as exempt from

overtime by Defendant DNC and/or Defendant PDP and who worked in this capacity at any

point in the three (3) years preceding the date the instant action was initiated.

       60.     The class is so numerous that the joinder of all class members is impracticable.

Named Plaintiff Katz does not know the exact size of the class, as such information is in the

exclusive control of Defendants; however, on information and belief, the number of potential

class members is at least forty.

       61.     Named Plaintiff Katz’s claims are typical of the claims of the Pennsylvania

Plaintiffs, because Named Plaintiff Katz, like all Pennsylvania Plaintiffs, was an employee of

Defendants within the last three years in Pennsylvania, held the job title of “organizer,” was



                                                 12
       Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 13 of 24



classified by Defendants as an exempt employee, and was not paid overtime premiums for hours

worked beyond 40 per workweek.

       62.    Named Plaintiff Katz will fairly and adequately protect the interests of the

Pennsylvania Plaintiffs because Named Plaintiff Katz’s interests are coincident with, and not

antagonistic to, those of the class. Named Plaintiff Katz has retained counsel with substantial

experience in the prosecution of claims involving employee wage disputes.

       63.    No difficulties are likely to be encountered in the management of this class action

that would preclude its maintenance as a class action. The class will be easily identifiable from

Defendant PDP’s records.

       64.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Such treatment will allow all similarly situated individuals to

prosecute their common claims in a single forum simultaneously. Prosecution of separate

actions by individual members of the putative class would create the risk of inconsistent or

varying adjudications with respect to individual members of the class that would establish

incompatible standards of conduct for Defendants.        Furthermore, the amount at stake for

individual putative class members may not be great enough to enable all the individual putative

class members to maintain separate actions against Defendants.

       65.    Questions of law and fact that are common to the members of the class

predominate over questions that affect only individual members of the class.           Among the

questions of law and fact that are common to the class are whether the duties of organizers

qualify for any recognized exemption to overtime.

                                 FACTUAL BACKGROUND

       66.    The foregoing paragraphs are incorporated herein as if set forth in their entirety.



                                               13
       Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 14 of 24



       67.     Named Plaintiff Katz was directly employed by Defendant PDP as a “ field

organizer” (a/k/a “organizer”) from June of 2016 through August of 2016.

       68.     Defendant DNC was a single employer/alter ego with non-party HFA from at

least August 2015 through November 2016.

       69.     Defendant PDP is vertically integrated with Defendant DNC and non-party HFA,

and consequently, Defendant DNC and non-party HFA are a joint employer of all organizers

employed by Defendant PDP.

       70.     Collective Action Plaintiffs and the Pennsylvania Plaintiffs (“Class Plaintiffs”)

worked/work for Defendants during the last three years as organizers and/or field organizers.

       71.     Named Plaintiff’s job duties consisted of making phone calls to voters, assisting

in voter registration efforts, soliciting volunteers, and canvassing. Named Plaintiff’s job duties

further included accessing and entering data into the Votebuilder.

       72.     Named Plaintiff’s job duties included making calls to individuals who were

outside the state Named Plaintiff’s were calling from.

       73.     Named Plaintiff made several calls per week to individuals who were out of state

when contacted, and Named Plaintiff then communicated with them across state lines.

       74.     Named Plaintiff and other organizers were required, as part of their job duties, to

post on Twitter and Facebook at least once per week to promote democratic candidates and

solicit volunteers.   Named Plaintiff and other organizers were required to use hashtag

“#ProudtobePA” when they posted. These postings were made utilizing interstate wires and the

internet and published to individuals throughout the United States.

       75.     Additionally, at the direction of her supervisors, Named Plaintiff called voters in

North Carolina and Florida to have Florida and North Carolina voters answer survey questions to



                                               14
       Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 15 of 24



assist in predicting who they would vote for in the upcoming election. These calls were made

via HubDialer, an automated dialer system which calls the voters automatically and then displays

information about the callers on a computer screen. The answers to those questions were then

entered into the computer by Named Plaintiff and other organizers, and that information was

submitted to Defendants’ nationwide database, which Named Plaintiff believes to be

Votebuilder.

       76.     Votebuilder is a national online database which contains information about every

registered voter in each state. Votebuilder is exclusive to the Democratic organization and is

used by every state Democratic Party. Votebuilder is standardized across states and campaigns.

       77.     Among the valuable information provided in Votebuilder is the “likely party” that

the voter will vote for in the upcoming election. Votebuilder determines the likely party based

on certain information, including responses to survey questions which Named Plaintiff and other

organizers asked of voters and recorded into Votebuilder.

       78.     Upon information and belief, Votebuilder is maintained in Washington DC.

       79.     By entering data into the Votebuilder system, Named Plaintiff provided

information across state lines while employed by Defendants. Specifically, the information

provided by Named Plaintiff was transmitted over state lines via interstate wire and internet

communications.

       80.     Specifically, Named Plaintiff, while in the Commonwealth of Pennsylvania,

called voters both in and out of Pennsylvania, and would then record information about those

voters into Votebuilder.




                                               15
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 16 of 24



       81.     Through Votebuilder, Named Plaintiff provided the information to Defendant

DNC and other democratic parties, along with Defendant PDP, by moving such information

through her computer to the nation-wide database.

       82.     The information Named Plaintiff and other organizers entered into Votebuilder

was then sold and licensed to candidates running for Democratic office throughout the United

States – both inside and outside of Pennsylvania.

       83.     Without the information entered by Named Plaintiff and other organizers,

Votebuilder would have significantly less value and licensing and use fees would be less.

       84.     Votebuilder is a common database maintained by Defendants and jointly operated

and updated by all Defendants.

       85.     Defendant DNC licensed Votebuilder to different campaigns – including in 2016,

Hillary for America and Bernie 2016 – and licensed the system on behalf of multiple state

democratic parties, including Defendant PDP.

       86.     While the exact licensing fees are unknown to Plaintiff at this time, the licensing

fees collected by Defendants in licensing the information entered into the system by Named

Plaintiff and other organizers are believed to be well into the millions of dollars and is sold to

candidates throughout the United Sates.      For example, Bernie 2016 entered into a license

agreement with Defendant DNC to utilize the information in Votebuilder for the 2016 campaign.

       87.     In the licensing agreements with candidates, Defendant DNC identified itself as

the owner of the voter information which is contained in Votebuilder.

       88.     The licensing agreements provides certain candidates the use of information

collected by Named Plaintiff and other organizers in Pennsylvania, along with information

collected by organizers in other states.



                                               16
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 17 of 24



        89.    The portion of the agreement which has been made public shows that Bernie 2016

paid $120,000 to license the Votebuilder information for information collected in Iowa alone.

See Agreement Between the DNC and Presidential Campaign Committees Regarding Use of

DNC National Voter File Data, attached as Ex. A.

        90.    Votebuilder cuts down on the time and money a candidate committee

would have to spend acquiring data allowing them to spend precious time on other campaign

activities.

        91.    Defendants sell merchandise to the public, including T-shirts, hats, buttons, water

bottles, posters, signs, and other items.

        92.    Such items are sold to customers throughout the United States and are sold

through online storefronts which rely on interstate wires and interstate communication.

        93.    Additionally, Defendants were participants in the HVF enterprise, which operated

and sold merchandise through the Hillary Clinton online store, http://shop.hillaryclinton.com/

(available at https://web.archive.org/web/20160402080202/http://shop.hillaryclinton.com/), the

revenue from same being redistributed to Defendants’ accounts from the HVF enterprise.

        94.    On information and belief, Defendants’ joint revenue from their joint

merchandising sales exceeded $500,000 in 2016.

        95.    On information and belief, Defendant PDP’s annual revenue from selling

merchandise exceeded $500,000 in 2016.

        96.    On information and belief, Defendant DNC’s annual revenue from selling

merchandise exceeded $500,000 in 2016.

        97.    Defendants license and sell access and data from Votebuilder to candidates and

other third party organizations.



                                               17
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 18 of 24



       98.     Upon information and belief, the revenues generated from licensing and data sales

from Votebuilder exceeded $500,000 in 2016.

       99.     Defendants are not a recognized charity by the IRS and do not engage in

charitable pursuits.

       100.    Defendants also competed with private for-profit canvassing operations, for

instance, the for-profit private company Grassroots Campaign, Inc.

       101.    Grassroots Campaign Inc. employs organizers to canvass, increase visibility, and

sign-up members for progressive groups, organizations, and political campaigns, and charges

these groups, organizations, and campaigns for this service.

       102.    Named Plaintiff’s job duties did not relate to the management or general business

operations of Defendants.

       103.    Named Plaintiff’s job duties did not allow the use of discretion and independent

judgment with respect to matters of significance.

       104.    Named Plaintiff had non-exempt job duties at all time while employed by

Defendants.

       105.    Collective Action and Class Plaintiffs’ job duties consisted of making phone calls

to voters, assisting in voter registration efforts, soliciting volunteers, and canvassing.

       106.    Collective Action and Class Plaintiffs’ job duties did not relate to the management

or general business operations of Defendants.

       107.    Named Plaintiff regularly worked more than 12 hours per day and at times

worked more than 14 hours per day.

       108.    Named Plaintiff regularly worked 7 days per workweek.

       109.    Named Plaintiff regularly worked more than 80 hours per workweek.



                                                  18
           Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 19 of 24



           110.     Defendants paid Named Plaintiff Katz a salary of $3,000 per month, and paid no

extra compensation for any hours worked beyond 40 per workweek.

           111.     Upon information and belief, Collective Action and Class Plaintiffs regularly

worked more than 40 hours per workweek.

           112.     Upon information and belief, Defendants paid Collective Action and Class

Plaintiffs a salary, and paid no extra compensation for any hours worked beyond 40 per

workweek.

           113.     Defendants received a significant economic benefit in not paying extra

compensation to Collective Action and Class Plaintiffs for any hours worked beyond 40 per

workweek by lowering their wage costs.

           114.     Defendants received a significant operational benefit by having Collective Action

and Class Plaintiffs work beyond 40 hours per workweek without receiving additional overtime

premium pay, as this allowed Collective Action and Class Plaintiffs to work significantly longer

hours than they could have worked if Defendants had been paying an hourly overtime premium

for all hours worked over 40 per workweek.

           115.     Upon information and belief, Defendants intentionally and willfully failed to pay

overtime premium pay in order to secure the economic and operational benefits outlined above.

                                             COUNT I
                           Violations of the Fair Labor Standards Act
                                     (Failure to Pay Overtime)
                    Named Plaintiff and Collective Action Plaintiffs v. Defendants

           116.     The foregoing paragraphs are incorporated herein as if set forth in full.

           117.     At all times relevant herein, Defendant PDP was vertically and horizontally

integrated with Defendant DNC and third party HFA1, and together exercised significant control

1
    Named Plaintiff has not brought suit against HFA.


                                                        19
       Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 20 of 24



over the terms and conditions of employment and day-to-day work of the Named Plaintiff and

Collective Action Plaintiffs.

       118.    Accordingly, Defendant PDP, Defendant DNC, and third-party HFA are joint

employers of Named Plaintiff and Collective Action Plaintiffs under the FLSA.

       119.    At all times relevant herein, Defendants were and continue to be an “employer”

within the meaning of the FLSA.

       120.    At all times relevant herein, Named Plaintiff and Collective Action Plaintiffs

were/are “employees” within the meaning of the FLSA.

       121.    The FLSA requires employers, such as Defendants, to compensate employees,

such as Named Plaintiff and Collective Action Plaintiffs, overtime at 1.5 times their regular rate

for hours worked beyond 40 per workweek.

       122.    Defendants misclassified Named Plaintiff and Collective Action Plaintiffs as

exempt from the overtime mandate of the FLSA.

       123.    Named Plaintiff and Collective Action Plaintiffs regularly worked more than 40

hours per workweek.

       124.    Defendants failed to pay any overtime premiums for work beyond 40 hours per

workweek to Named Plaintiff and Collective Action Plaintiffs.

       125.    Defendants willfully failed to compensate Named Plaintiff and Collective Action

overtime compensation.

       126.    As a result of Defendants’ failure to pay overtime premiums for overtime worked

to Named Plaintiff and Collective Action Plaintiffs, Defendants have violated and continue to

violate the FLSA.

                                           COUNT II
                      Violations of the Pennsylvania Minimum Wage Act

                                               20
       Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 21 of 24



                                 (Failure to Pay Overtime)
                   Named Plaintiff Katz and Class Plaintiffs v. Defendants

       127.    The foregoing paragraphs are incorporated herein as if set forth in full.

       128.    At all times relevant herein, Defendant PDP was vertically integrated with

Defendant DNC and non-party HFA, making Defendant PDP, Defendant DNC, and non-party

HFA joint employers under the PMWA.

       129.    Defendants violated the PMWA by failing to pay overtime premiums for work in

excess of 40 hours per workweek performed by Named Plaintiff and Pennsylvania Plaintiffs

       130.    As a result of Defendants’ conduct, Named Plaintiff and Pennsylvania Plaintiffs

have suffered damages.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       (1)     Defendants are a joint employer and/or single employer under the FLSA;

       (2)     Defendants PDP and DNC are a joint employer and/or single employer under the

PMWA;

       (3)     The instant matter will be adjudicated on a class and collective basis on behalf of

all individuals currently or formerly employed as organizers and field organizers directly

employed by the PDP;

       (4)     Defendants are to be prohibited from continuing to maintain their policies,

practices or customs in violation of state laws and principles of equity;

       (5)     Defendants are to compensate, reimburse, and make Named Plaintiff, Collective

Action Plaintiffs, and Pennsylvania Plaintiffs should be accorded those benefits illegally

withheld;

       (6)     Named Plaintiff, Collective Action Plaintiffs and Pennsylvania Plaintiffs are to be

awarded liquidated damages as applicable under the laws they are suing under;

                                                 21
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 22 of 24



        (7)    Named Plaintiff, Collective Action Plaintiffs and Pennsylvania Plaintiffs are to be

awarded the costs and expenses of this action and reasonable legal fees as provided by applicable

law;

        (8)    Any and all other equitable relief which this Court deems fit.



                                                     Respectfully Submitted,

                                                     /s/ Justin L. Swidler
                                                     Justin L. Swidler, Esq.
                                                     Joshua S. Boyette, Esq.
                                                     Richard S. Swartz, Esq.
                                                     SWARTZ SWIDLER, LLC
                                                     1101 Kings Highway North, Suite 402
                                                     Cherry Hill, NJ 08034
                                                     Phone: (856) 685-7420
                                                     Fax: (856) 685-7417
Date: February 16, 2018


                           DEMAND TO PRESERVE EVIDENCE

        All Defendants are hereby directed to preserve all physical and electronic information

pertaining in any way to Named Plaintiff’s, Collective Action Plaintiffs’, and Pennsylvania

Plaintiffs' employment, to Named Plaintiff’s, Collective Action Plaintiffs’, and Pennsylvania

Plaintiffs’ cause of action and/or prayers for relief, and to any defenses to same, including, but

not limited to, electronic data storage, closed circuit TV footage, digital images, computer

images, cache memory, searchable data, emails, spread sheets, employment files, memos, text

messages, any and all online social or work related websites, entries on social networking sites

(including, but not limited to, Facebook, Twitter, MySpace, etc.), and any other information

and/or data and/or things and/or documents which may be relevant to any claim or defense in this

litigation.
                                                22
Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 23 of 24



                                JURY DEMAND

Plaintiffs hereby demand a trial by jury.

                                                 Respectfully Submitted,

                                                 /s/ Justin L. Swidler
                                                 Justin L. Swidler, Esq.
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                                            23
        Case 2:16-cv-05800-CDJ Document 135 Filed 02/16/18 Page 24 of 24



                           DESIGNATION OF TRIAL COUNSEL

        Justin L. Swidler, Esquire, of the law firm of Swartz Swidler, LLC, is hereby designated

trial counsel.

                                                    Respectfully Submitted,

                                                    /s/ Justin L. Swidler
                                                    Justin L. Swidler, Esq.
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                                               24
